

Matter of Kane v Kornberg (2025 NY Slip Op 02896)





Matter of Kane v Kornberg


2025 NY Slip Op 02896


Decided on May 14, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 14, 2025

Before: Webber, J.P., Gesmer, Rodriguez, Higgitt, O'Neill Levy, JJ. 


Index No. 100458/25|Appeal No. 4513-4514|Case No. 2025-02711, 2025-02782|

[*1]In the Matter of Nickie Kane, Petitioner-Appellant,
vMaya Kornberg, et al., Respondents-Respondents.


Nickie Kane, appellant pro se.
Martine E. Connor, Brooklyn, for Maya Kornberg, respondent.



Judgment, Supreme Court, New York County (Jeffrey H. Pearlman, J.), entered on or about May 01, 2025, unanimously affirmed for the reasons stated by Jeffrey Pearlman, J., without costs or disbursements.
No opinion. Order filed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 14, 2025








